                           Case:09-08945-jrh            Doc #:1-9 Filed: 07/28/2009                    Page 1 of 1
Official Form 23 (12/08)


                                             United States Bankruptcy Court
                                                      Western District of Michigan


In re Nancy Morgan ,                                                              Case No: 09−08945
                                                                                  Chapter: 7



                DEBTOR'S CERTIFICATION OF COMPLETION OF INSTRUCTIONAL COURSE CONCERNING
                                     PERSONAL FINANCIAL MANAGEMENT



   Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file this certification. If a joint
petition is filed, each spouse must complete and file a serparate certification. Complete one of the following statements and file by the
deadline stated below:



         I, __________________________________, the debtor in the above−styled case, hereby certify that on _______________(Date),
              (Printed Name of Debtor)
I completed an instructional course in personal financial management provided by
_____________________________________________________, an approved personal financial management provider.
                         (Name of Provider)

   Certificate No.: _________________________.



         I, __________________________________, the debtor in the above−styled case, hereby
                (Printed Name of Debtor)
certify tha no personal financial management course is required because of [Check the appropriate box.]:
                Incapacity of disability, as defined in 11 U.S.C. § 109(h);
               Active military duty in a military combat zone; or
                Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
instructional courses are not adequate at this time to serve the additional individuals who would otherwise be required to complete such
courses.



Signature of Debtor: ___________________________

Date: _______________



______________________________________________________________________________________________


Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R. Bankr. P. 1007(b)(7).)
Do NOT use this form to file the certificate given to you by your prepetition credit counseling provider and do NOT include with the petition
when filing your case.

Filing Deadlines: In a chapter 7 chase, file within 45 days of the first date set for the meeting of creditors under § 341 of the Bankruptcy
Code. In a chapter 11 or chapter 13 case, file no later than the last payment made by the debtor as required by the plan or the filing of a
motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P. 1007(c).)
